          Case 1:25-cv-02566-JAM                 Document 6          Filed 05/09/25    Page 1 of 2 PageID #: 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of New
                                                            District       York
                                                                      of __________

                         Nabiel Hanna                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:25-cv-2566
                                                                 )
 Sheffield Ave Mini Market Inc., My 350 Mini Market,             )
           Inc., and Mohamed H. Nahshal
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Sheffield Ave Mini Market Inc. 634 Sheffield Ave, Brooklyn, New York 11207
                                       My 350 Mini Market, Inc. 350 New Lots Avenue, Brooklyn, New York 11207

                                       Mohamed Nashal 120-28 131st Street, South Ozone Park, New York, 11420




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Valli Kane & Vagnini LLP
                                       600 Old Country Road, Suite 519
                                       Garden City, NY 11530




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date:       5/9/2025                                                              SONIA GALEANO
                                                                                      Signature of Clerk or Deputy Clerk
           Case 1:25-cv-02566-JAM                        Document 6       Filed 05/09/25        Page 2 of 2 PageID #: 19

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 Civil Action No. 1:25-cv-2566

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
